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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

YOSCATA MARTINEZ,                                               :         CIVIL ACTION
         Plaintiff,                                             :
                                                                :
         v.                                                     :         No.: 21-cv-1852
                                                                :
CAESARS OPERATING                                               :
COMPANY, INC., et al.,                                          :
          Defendant.                                            :

                                                     ORDER

       AND NOW, this        19TH    day of October, 2021, IT IS HEREBY ORDERED that a
SETTLEMENT CONFERENCE in the above-captioned case will be held on Monday,
January 31, 2022, at 9:30 A.M., before the Honorable Lynne A. Sitarski, United States
Magistrate Judge, in Courtroom 3-E, U.S. Courthouse, 601 Market Street, Philadelphia, PA
19106.

         •        Please notify the Court if settlement is not a real possibility.

         •        Parties/client representatives with full and complete settlement authority must be
                  physically present for the duration of the conference. 1 Full and complete
                  authority means the party must possess authority consistent with the most
                  recent demand.

         •        Lead Trial Counsel for each party must be physically present at the Conference.
                  Counsel are expected to be fully familiar with the facts of the case, the legal
                  theories supporting their client’s claims or defenses, and the procedural posture of
                  the case.

         •        Please complete the attached settlement conference form and email it to
                  Chambers at Chambers_sitarski@paed.uscourts.gov on or before January 24,
                  2022. As indicated on the attached form, counsel shall include a synopsis of the
                  case with a discussion of the relevant facts, as well as a brief summary of the legal
                  issues affecting the party’s settlement position. The Court anticipates that in
                  most cases, the parties’ case summaries will not exceed five (5) pages. The case
                  synopsis should include a candid discussion of the submitting party’s strengths
                  and weaknesses in the case.


         1
              Parties include all persons, corporations or other business entities, and insurance companies with an
interest in the case, and each entity with an interest in the case must attend the conference. In the case of corporate
or other business entities, the corporate official with ultimate settlement authority is required to attend. Where an
insurance company is involved, a representative with full and complete settlement authority is also required to
attend.
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       •      Counsel are also encouraged to submit a small number of documents that counsel
              considers critical to their client’s claims or defenses (by way of example only:
              the contract at issue, or excerpts therefrom; selected portions of critical medical
              records; police reports; the “smoking gun” email). Counsel shall not submit
              more than 20 pages of documents without prior Court approval.

       •      These submissions are confidential and shall be submitted to the Court only.


       Failure to comply with this Order may result in the imposition of sanctions.



                                                    BY THE COURT:



                                                     /s/ Lynne A. Sitarski
                                                    LYNNE A. SITARSKI
                                                    United States Magistrate Judge



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Scott E. Diamond, Esquire
Russell L. Lichtenstein, Esquire
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             CONFIDENTIAL SETTLEMENT CONFERENCE SUMMARY

Caption: ___________________________________________________________

DISTRICT COURT JUDGE: __________________________________ JURY / NONJURY
                                                             (Circle One)
     TRIAL POOL DATE: _________________________________


COUNSEL ATTENDING SETTLEMENT CONFERENCE:

       Name:
       Address:
       Phone:
       Client:


CLIENT ATTENDING SETTLEMENT CONFERENCE:
         Name of Individual with Full and Complete Settlement Authority who will be present at
the settlement conference (include company and position where applicable):

       ________________________________________________________________________

MOTIONS PENDING:

       ________________________________________________________________________

       ________________________________________________________________________

       ________________________________________________________________________

OTHER RELEVANT MATTERS:

       ________________________________________________________________________

       ________________________________________________________________________

       ________________________________________________________________________

PRIOR OFFERS / DEMANDS:

       ________________________________________________________________________

ATTACH SYNOPSIS OF CASE (UP TO FIVE [5] PAGES)
